Case 8:19-cv-03064-VMC-TGW Document 20 Filed 02/14/20 Page 1 of 2 PageID 77




                                UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

GRACE WEISE,

       Plaintiff,
                                                      CASE NO: 8:19-cv-3064-T-33TGW
v.

THE BOYS IN THE BURG, LLC
d/b/a THE BIG CATCH AT SALT CREEK,

      Defendant.
______________________________________/

                              JOINT NOTICE OF SETTLEMENT

       Pursuant to Local Rule 3.08, the parties respectfully notify the Court that they have

reached an agreement to resolve all matters set forth in this action, and anticipate the filing of a

joint stipulation for dismissal with prejudice within the next thirty (30) days.

Respectfully submitted this 14th day of February, 2020.



/s/ Mary Ruth Houston, Esq.                           /s/ Luis A. Cabassa, Esq.
MARY RUTH HOUSTON                                     LUIS A. CABASSA
Florida Bar No.: 869094                               Florida Bar No.: 0053643
mhouston@shutts.com                                   lcabassa@cwfclaw.com
JACLYN S. CLARK, ESQ.                                 ANTHONY M. KNIGHT
Florida Bar No.: 117652                               Florida Bar No.: 1010530
Jclark@shutts.com                                     aknight@wfclaw.com
SHUTTS & BOWEN LLP                                    WENZEL FENTON CABASSA, P.A.
300 South Orange Ave, Suite 1600                      1110 N. Florida Avenue, Suite 300
Orlando, Florida 32801                                Tampa, Florida 33602
Telephone: (407) 423-3200                             Telephone: (813) 224-0431
Facsimile: (407) 425-8316                             Facsimile: (813) 229-8712

Attorneys for Defendant                               Attorneys for Plaintiff




                                                  1
Case 8:19-cv-03064-VMC-TGW Document 20 Filed 02/14/20 Page 2 of 2 PageID 78




                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of February, 2020, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will automatically send

notice to all counsel of record.

                                                        /s/ Mary Ruth Houston
                                                        Of Counsel




ORLDOCS 17499376 1




                                             2
